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 6   Attorney for Defendant
     JOSE MORALES CASTELLON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          )       No. 13-CR-0053-MCE
                                                        )
                                                        )       STIPULATION AND
12          Plaintiff,                                  )       ORDER CONTINUING CASE AND
13                                                      )       EXCLUDING TIME
     v.                                                 )
14                                                      )
     OMAR VERA,                                         )       Date: October 8, 2015
15                                                      )       Time: 9:00am.
     JOSE MORALES CASTELLON,                            )       Judge: Honorable Morrison C. England
16
     EDUARDO REYES.                                     )
                                                        )
17          Defendants.                                 )
                                                        )
18

19

20          IT IS HEREBY stipulated between the United States of America through its undersigned
21   counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, together with
22   Assistant Federal Defender Michael Petrik, attorney for defendant Omar Vera, Kyle Knapp,
23   attorney for defendant Jose Morales Castellon and Ron Peters, attorney for defendant Eduardo
24   Reyes, that the previously-scheduled status conference, currently set for September 17, 2015, be
25   vacated and that the matter be set for status conference on October 8, 2015 at 9:00 a.m.
26          Counsel have conferred and this continuance is requested to allow defense counsel
27   additional time to finalize review of plea agreements in this case, finalize defense investigation
28   and further review the discovery in this matter.


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 1          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 2   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 3   time within which the trial of this case must be commenced under the Speedy Trial Act should
 4   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 5   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
 6   September 15, 2015 up to and including October 8, 2015.
 7   IT IS SO STIPULATED.
 8
     Dated: September 15, 2015                                   BENJAMIN B. WAGNER
 9                                                               UNITED STATES ATTORNEY

10                                                        by:    /s/ Jason Hitts
                                                                 JASON HITT
11
                                                                 Assistant U.S. Attorney
12                                                               Attorney for Plaintiff

13   Dated: September 15, 2015                                   /s/ Kyle Knapp
14
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
15                                                               JOSE MORALES CASTELLON
16   Dated: September 15, 2015                                   /s/ Michael Petrik
17
                                                                 MICHAEL PETRIK
                                                                 Assistant Federal Defender
18                                                               Attorney for Defendant
                                                                 OMAR VERA
19

20   Dated: September 15, 2015                                   /s/ Ron Peters
                                                                 RON PETERS
21                                                               Attorney for Defendant
                                                                 EDUARDO REYES
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                                                  ORDER
 1
            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s September 17, 2015 criminal
 3
     calendar and re-calendared for status conference on October 8, 2015. Based on the
 4
     representations of the parties, the Court finds that the ends of justice served by granting this
 5
     continuance outweigh the interests of the public and the defendant in a speedy trial. Time is
 6
     excluded from the time of the filing of this stipulation on September 15, 2015 through and
 7
     including October 8, 2015.
 8
            IT IS SO ORDERED.
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     Dated: September 18, 2015
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